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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                           REPORT AND RECOMMENDATION
                       Plaintiff,

               v.                                          10-CR-6211L

RAUL EDUARDO RIVERA DE LA TORRE,

                       Defendant.




               By Order of Hon. David G. Larimer, United States District Judge, dated

December 14, 2010, all pretrial matters in the above-captioned case have been referred to this

Court pursuant to 28 U.S.C. §§ 636(b)(1)(A)-(B). (Docket # 67).

               On January 13, 2012, defendant filed a motion to suppress evidence seized from

his person following his arrest. (Docket # 132). On February 2, 2012, the government

represented to this Court that it does not intend to introduce at trial any items of physical

evidence seized from the defendant at the time of his arrest. (Docket # 147). On February 16,

2012, defendant advised this Court that he does not believe a hearing is necessary and reserving

his right to renew the motion in the event that government changes its position. (Docket # 148).

               Accordingly, I recommend that the district court deny as moot without prejudice
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to renewal defendant’s motion to suppress the physical evidence seized from him following his

arrest. (Docket # 132).


                                                      s/Marian W. Payson
                                                             MARIAN W. PAYSON
                                                          United States Magistrate Judge

Dated: Rochester, New York
       February 17 , 2012
